                                          Case 4:14-cv-04908-PJH Document 141 Filed 07/12/21 Page 1 of 2




                                  1

                                  2

                                  3

                                  4                                  UNITED STATES DISTRICT COURT

                                  5                                 NORTHERN DISTRICT OF CALIFORNIA

                                  6

                                  7      FINJAN LLC,
                                                                                         Case No. 14-cv-04908-PJH
                                  8                    Plaintiff,

                                  9              v.                                      ORDER DENYING ADMINISTRATIVE
                                                                                         MOTION FOR LEAVE TO INCLUDE
                                  10     PALO ALTO NETWORKS, INC.,                       MORE THAN TEN CLAIM TERMS IN
                                                                                         CLAIM CONSTRUCTION STATEMENT
                                  11                   Defendant.
                                                                                         Re: Dkt. No. 135
                                  12
Northern District of California
 United States District Court




                                  13

                                  14          Before the court is Palo Alto Networks’ administrative motion to include more than

                                  15   ten claim terms in the joint claim construction statement. See Dkt. 135.

                                  16          The Patent Local Rules of this district impose a ten-term limit on the number of

                                  17   terms identified in the joint claim construction statement. See Patent L.R. 4-3(c). This

                                  18   court’s standing order for patent cases further states that a party must “demonstrate good

                                  19   cause” to identify more than ten terms. See Standing Order for Patent Cases, ¶ 4.

                                  20          While Palo Alto Networks asserts that “good cause exists” to identify more than

                                  21   ten terms in the joint claim construction statement, it also concedes that “at this point it is

                                  22   not certain whether those disputes [related to the additional claim terms] will be relevant

                                  23   to the trier of fact.” See Dkt. 135 at 3.

                                  24          In its opposition to the motion, Finjan points out that “no court in this district has

                                  25   needed to construe more than ten terms in the first round of claim construction in any

                                  26   Finjan case.” Dkt. 136 at 1; see also Finjan, Inc. v. Cisco Systems, Inc., 17-cv-0072, Dkt.

                                  27   92 (Dec. 11, 2017) (denying administrative motion to include more than ten terms for

                                  28   construction). Finjan also argues that Palo Alto Networks “fails to identify why any
                                         Case 4:14-cv-04908-PJH Document 141 Filed 07/12/21 Page 2 of 2




                                  1    specific term over the ten-term limit would be material to the case.” Dkt. 136 at 1.

                                  2           The court in Cisco concluded that the moving party “ha[d] not shown good cause

                                  3    for briefing additional terms at this juncture,” and this court reaches the same conclusion

                                  4    in this case. See Cisco, 17-cv-0072, Dkt. 92 at *2. Palo Alto Networks has not

                                  5    demonstrated good cause for identifying more than ten claim terms in the joint claim

                                  6    construction statement, and its administrative motion is DENIED.

                                  7           IT IS SO ORDERED.

                                  8    Dated: July 12, 2021

                                  9                                                    /s/ Phyllis J. Hamilton
                                                                                   PHYLLIS J. HAMILTON
                                  10                                               United States District Judge
                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                    2
